                      Case 1:22-cv-02070-JEB Document 8 Filed 07/27/22 Page 1 of 13

AO 440 (Rev. 06/12) Summons in II Civil Action (Page 2)

 Civil Action No.

                                                        PROOF OF SERVICE
                      (Tl,is section sltould not be filed wit/, tl,e court unless require<! by Fetl R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any) -----------------------
                                                                   Federal Trade Commission
 was received by me on (date)                     07/20/2022

           0 I personally served the summons on the individual at (pla ce)
                                                                                on (date)                           ; or

          0 I left the summons at the individual's residence or usual place of abode with (name)

         ----------------- , a person of suitable age and discretion who resides there,
          on (date)                                ' and mailed a copy to the individual's last known address; or
                       --------

          0 I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)

         ---------------------- on (date) --------- ; or
          0 I returned the summons unexecuted because                                                                             ; or

          t!!f Other (specify):   Certified Mail




          My fees are$                             for travel and$                  for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.


Date:         07/27/2022

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                                                                                            Server's signature

                                                                           John Russell, Senior Research Associate
                                                                                       Printed name and title

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Additional information regarding attempted service, etc:
7/27/22, 8:15 AM          Case 1:22-cv-02070-JEB Document   8- USPS
                                                    USPS.com®   Filed   07/27/22
                                                                    Tracking® Results Page 2 of 13




   USPS Tracking
                                                ®                                                          FAQs   




                                                      Track Another Package      +




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   Tracking Number: 70210950000126959839

   Your item was picked up at a postal facility at 8:09 am on July 22, 2022 in WASHINGTON, DC
   20580.

   USPS Tracking Plus® Available                      




                                                                                                                  Feedback
     Delivered, Individual Picked Up at Postal Facility
   July 22, 2022 at 8:09 am
   WASHINGTON, DC 20580


   Get Updates           




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       Text & Email Updates


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       Tracking History


       July 22, 2022, 8:09 am
       Delivered, Individual Picked Up at Postal Facility
       WASHINGTON, DC 20580
       Your item was picked up at a postal facility at 8:09 am on July 22, 2022 in WASHINGTON, DC 20580.



       July 21, 2022, 10:18 am
       Available for Pickup
       WASHINGTON, DC 20580




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70210950000126959839                                           1/3
7/27/22, 8:15 AM          Case 1:22-cv-02070-JEB Document   8- USPS
                                                    USPS.com®   Filed   07/27/22
                                                                    Tracking® Results Page 3 of 13

       July 21, 2022, 9:24 am
       Arrived at Post Office
       WASHINGTON, DC 20018



       July 21, 2022, 7:29 am
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 6:40 am
       Departed USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 4:29 am
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 3:46 am
       Arrived at USPS Regional Facility




                                                                                                         Feedback
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 2:56 am
       Departed USPS Regional Facility
       MERRIFIELD VA DISTRIBUTION CENTER



       July 20, 2022, 7:08 pm
       Arrived at USPS Regional Origin Facility
       MERRIFIELD VA DISTRIBUTION CENTER



       July 20, 2022, 5:08 pm
       Departed Post Office
       ARLINGTON, VA 22201



       July 20, 2022, 2:48 pm
       USPS in possession of item
       ARLINGTON, VA 22201




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       USPS Tracking Plus®
https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70210950000126959839                                  2/3
7/27/22, 8:15 AM          Case 1:22-cv-02070-JEB Document   8- USPS
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                                                                    Tracking® Results Page 4 of 13



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       Product Information



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                                     Can’t find what you’re looking for?
                            Go to our FAQs section to find answers to your tracking questions.


                                                                          FAQs




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                        Case 1:22-cv-02070-JEB Document 8 Filed 07/27/22 Page 5 of 13
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (Tltis section should not befiled witlt tlte court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, ifany) U.S. Attorney General Merrick Garland
 was received by me on (date)                     07/20/2022

           0 I personally served the summons on the individual at (place)

          ---------------------- on (date)                                                                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)

          ----------------- , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or
                        --------

           0 I served the summons on (name ofindividual)                                                                      , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                on (date)                            ; or

           0 I returned the summons unexecuted because                                                                             ; or

          � Other (specify): Certified Mail



          My fees are$                             for travel and$                   for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.


Date:          07/27/2022

                                                                     I                      Server's signature


                                                                            John Russell, Senior Research Associate
                                                                                        Printed name and title


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                                                                                            Server's address


Additional information regarding attempted service, etc:
7/27/22, 8:14 AM          Case 1:22-cv-02070-JEB Document   8- USPS
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                                                                    Tracking® Results Page 6 of 13




   USPS Tracking
                                                ®                                                          FAQs   




                                                      Track Another Package      +




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   Tracking Number: 70210950000126959853

   Your item was picked up at a postal facility at 4:49 am on July 22, 2022 in WASHINGTON, DC
   20530.

   USPS Tracking Plus® Available                      




                                                                                                                  Feedback
     Delivered, Individual Picked Up at Postal Facility
   July 22, 2022 at 4:49 am
   WASHINGTON, DC 20530


   Get Updates           




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       Text & Email Updates


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       Tracking History


       July 22, 2022, 4:49 am
       Delivered, Individual Picked Up at Postal Facility
       WASHINGTON, DC 20530
       Your item was picked up at a postal facility at 4:49 am on July 22, 2022 in WASHINGTON, DC 20530.



       July 21, 2022, 10:30 am
       Available for Pickup
       WASHINGTON, DC 20530




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7/27/22, 8:14 AM          Case 1:22-cv-02070-JEB Document   8- USPS
                                                    USPS.com®   Filed   07/27/22
                                                                    Tracking® Results Page 7 of 13

       July 21, 2022, 9:21 am
       Arrived at Post Office
       WASHINGTON, DC 20018



       July 21, 2022, 7:29 am
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 6:40 am
       Departed USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 4:29 am
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 3:46 am
       Arrived at USPS Regional Facility




                                                                                                         Feedback
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 2:56 am
       Departed USPS Regional Facility
       MERRIFIELD VA DISTRIBUTION CENTER



       July 20, 2022, 7:08 pm
       Arrived at USPS Regional Origin Facility
       MERRIFIELD VA DISTRIBUTION CENTER



       July 20, 2022, 5:08 pm
       Departed Post Office
       ARLINGTON, VA 22201



       July 20, 2022, 2:49 pm
       USPS in possession of item
       ARLINGTON, VA 22201




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       USPS Tracking Plus®
https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70210950000126959853                                  2/3
7/27/22, 8:14 AM          Case 1:22-cv-02070-JEB Document   8- USPS
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                                                                    Tracking® Results Page 8 of 13



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                       Case 1:22-cv-02070-JEB Document 8 Filed 07/27/22 Page 9 of 13

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                      (This section should not befiled wit/, the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name ofindividual and title, ifany) U.S. Attorney's Office for the District of Columbia
 was received by me on (date)                    07/20/2022

           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

          0 I left the summons at the individual's residence or usual place of abode with (name)

         ----------------- , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual's last known address; or
                       --------

          0 I served the summons on (name ofindividual)                                                                        , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

          0 I returned the summons unexecuted because                                                                               ; or

          "5 Other (specify): Certified Mail

          My fees are$                            for travel and $                    for services, for a total of$          0.00

          I declare under penalty of perjury that this information is true.


Date:         07/27/2022
                                                                 f                            Server's signature

                                                                           John Russell, Senior Research Associate
                                                                                         Printed name and title

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Additional infonnation regarding attempted service, etc:
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                                                    USPS.com®   Filed   07/27/22
                                                                     Tracking® Results Page 10 of 13




   USPS Tracking
                                                ®                                                          FAQs   




                                                      Track Another Package      +




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   Tracking Number: 70210950000126959846

   Your item was picked up at a postal facility at 4:49 am on July 22, 2022 in WASHINGTON, DC
   20530.

   USPS Tracking Plus® Available                      




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     Delivered, Individual Picked Up at Postal Facility
   July 22, 2022 at 4:49 am
   WASHINGTON, DC 20530


   Get Updates           




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       Text & Email Updates


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       Tracking History


       July 22, 2022, 4:49 am
       Delivered, Individual Picked Up at Postal Facility
       WASHINGTON, DC 20530
       Your item was picked up at a postal facility at 4:49 am on July 22, 2022 in WASHINGTON, DC 20530.



       July 21, 2022, 10:30 am
       Available for Pickup
       WASHINGTON, DC 20530




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70210950000126959846                                           1/3
7/27/22, 8:15 AM         Case 1:22-cv-02070-JEB Document    8 - USPS
                                                    USPS.com®   Filed   07/27/22
                                                                     Tracking® Results Page 11 of 13

       July 21, 2022, 9:21 am
       Arrived at Post Office
       WASHINGTON, DC 20018



       July 21, 2022, 7:29 am
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 6:40 am
       Departed USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 5:23 am
       Departed USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 4:28 am
       Arrived at USPS Regional Facility




                                                                                                       Feedback
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 3:46 am
       Arrived at USPS Regional Facility
       WASHINGTON DC DISTRIBUTION CENTER



       July 21, 2022, 2:56 am
       Departed USPS Regional Facility
       MERRIFIELD VA DISTRIBUTION CENTER



       July 20, 2022, 7:08 pm
       Arrived at USPS Regional Origin Facility
       MERRIFIELD VA DISTRIBUTION CENTER



       July 20, 2022, 5:08 pm
       Departed Post Office
       ARLINGTON, VA 22201



       July 20, 2022, 2:49 pm
       USPS in possession of item
       ARLINGTON, VA 22201

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7/27/22, 8:15 AM         Case 1:22-cv-02070-JEB Document    8 - USPS
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                                                                     Tracking® Results Page 12 of 13




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       USPS Tracking Plus®


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                            Go to our FAQs section to find answers to your tracking questions.


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